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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

JEFFERY TILSON,

   Plaintiff,

-vs-                                                   CASE NO.: 8:17-CV-01328-SDM-AEP

CAPITAL ONE BANK (USA),
NATIONAL ASSOCIATION,

   Defendant.
                                         /

                               NOTICE OF PENDING SETTLEMENT

        Plaintiff, Jeffery Tilson, by and through the undersigned counsel, hereby notifies the Court that

the parties have reached a settlement with regard to this case and are presently drafting and finalizing the

settlement agreement, and general release or documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

        I hereby certify that on August 17, 2017, I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system and that a Notice of this filing will be sent to the following by

operation of the Court’s Electronic Filing System: Joshua H. Threadcraft, Esq., and Megan Stephens,

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                                                   /s/Frank H. Kerney, III, Esquire
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